 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known):                                         Chapter you are filing under:
                                                                           Chapter 7
                                                                           Chapter 11
                                                                           Chapter 12
                                                                                                                                  Check if this is an
                                                                           Chapter 13
                                                                                                                                  amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                          About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                          David                                                  Darlene
     government-issued picture
                                          First Name                                             First Name
     identification (for example,
     your driver's license or                                                                    N.
     passport).                           Middle Name                                            Middle Name

                                          Johannsen                                              Johannsen
     Bring your picture                   Last Name                                              Last Name
     identification to your meeting
     with the trustee.                    Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8              First Name                                             First Name
     years
                                          Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                          Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security                 xxx – xx –                   8        2       8    5   xxx – xx –                   6         8        6      9
     number or federal                    OR                                                     OR
     Individual Taxpayer
     Identification number                9xx – xx –                                             9xx – xx –
     (ITIN)

4.   Any business names                          I have not used any business names or EINs.            I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in               Business name                                          Business name
     the last 8 years
                                          Business name                                          Business name
     Include trade names and
     doing business as names
                                          Business name                                          Business name


Official Form 101
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                                               Filed:Petition
                                                      12/30/15for Individuals Filing for Bankruptcy
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Debtor 1     David                                         Johannsen                          Case number (if known)
             First Name          Middle Name               Last Name

                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                                  –                                                           –
                                     EIN                                                          EIN

                                                  –                                                           –
                                     EIN                                                          EIN

5.   Where you live                                                                               If Debtor 2 lives at a different address:

                                     6225 Beachwood Drive                                         6225 Beachwood Drive
                                     Number       Street                                          Number      Street




                                     Eureka                      CA        95503                  Eureka                     CA        95503
                                     City                        State     ZIP Code               City                       State     ZIP Code

                                     Humboldt                                                     Humboldt
                                     County                                                       County

                                     If your mailing address is different from                    If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                     court will send any notices to you at this                   will send any notices to you at this mailing
                                     mailing address.                                             address.

                                     6225 Beachwood Drive                                         6225 Beachwood Drive
                                     Number       Street                                          Number      Street


                                     P.O. Box                                                     P.O. Box

                                     Eureka                      CA        95503                  Eureka                     CA        95503
                                     City                        State     ZIP Code               City                       State     ZIP Code


6.   Why you are choosing            Check one:                                                   Check one:
     this district to file for
     bankruptcy                              Over the last 180 days before filing this                   Over the last 180 days before filing this
                                             petition, I have lived in this district longer              petition, I have lived in this district longer
                                             than in any other district.                                 than in any other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the             Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                  Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13




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Debtor 1     David                                   Johannsen                        Case number (if known)
             First Name         Middle Name          Last Name

8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                        pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                        behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                        Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                        By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                        than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                        fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                        Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                 No
     bankruptcy within the
     last 8 years?                      Yes.

                                   District Northern District; Discharged 1/8/15          When 09/30/2009         Case number 09-13211
                                                                                                 MM / DD / YYYY
                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.
    not filing this case with
                                   Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an              District                                               When                    Case number,
    affiliate?                                                                                   MM / DD / YYYY   if known


                                   Debtor                                                             Relationship to you

                                   District                                               When                    Case number,
                                                                                                 MM / DD / YYYY   if known

11. Do you rent your                    No.    Go to line 12.
    residence?                          Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                             residence?

                                                    No. Go to line 12.
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it with this bankruptcy petition.




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Debtor 1     David                                         Johannsen                      Case number (if known)
             First Name              Middle Name           Last Name


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                No. Go to Part 4.
    of any full- or part-time                Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                   Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                  Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                      City                                                    State           ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                   Check the appropriate box to describe your business:
    to this petition.
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under                If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                   can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                             No.   I am not filing under Chapter 11.

                                             No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                   the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                   No
    property that poses or is                Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                        If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                 Where is the property?
    a building that needs urgent                                              Number   Street
    repairs?



                                                                              City                                     State          ZIP Code




Official Form 101
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Debtor 1     David                                      Johannsen                          Case number (if known)
             First Name          Middle Name            Last Name


 Part 5:      Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court            About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
    whether you have
                              You must check one:                                           You must check one:
    received briefing
    about credit                 I received a briefing from an approved credit                 I received a briefing from an approved credit
    counseling.                  counseling agency within the 180 days before                  counseling agency within the 180 days before
                                 I filed this bankruptcy petition, and I received              I filed this bankruptcy petition, and I received
    The law requires that
                                 a certificate of completion.                                  a certificate of completion.
    you receive a briefing
    about credit counseling      Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment
    before you file for          plan, if any, that you developed with the agency.             plan, if any, that you developed with the agency.
    bankruptcy. You must
                                 I received a briefing from an approved credit                 I received a briefing from an approved credit
    truthfully check one of
                                 counseling agency within the 180 days before                  counseling agency within the 180 days before
    the following choices.
                                 I filed this bankruptcy petition, but I do not                I filed this bankruptcy petition, but I do not
    If you cannot do so,
                                 have a certificate of completion.                             have a certificate of completion.
    you are not eligible to
    file.                        Within 14 days after you file this bankruptcy petition,       Within 14 days after you file this bankruptcy
                                 you MUST file a copy of the certificate and payment           petition, you MUST file a copy of the certificate
    If you file anyway, the      plan, if any.                                                 and payment plan, if any.
    court can dismiss your
                                 I certify that I asked for credit counseling                  I certify that I asked for credit counseling
    case, you will lose
                                 services from an approved agency, but was                     services from an approved agency, but was
    whatever filing fee you
                                 unable to obtain those services during the 7                  unable to obtain those services during the 7
    paid, and your
                                 days after I made my request, and exigent                     days after I made my request, and exigent
    creditors can begin
                                 circumstances merit a 30-day temporary                        circumstances merit a 30-day temporary
    collection activities
                                 waiver of the requirement.                                    waiver of the requirement.
    again.
                                 To ask for a 30-day temporary waiver of the                   To ask for a 30-day temporary waiver of the
                                 requirement, attach a separate sheet explaining               requirement, attach a separate sheet explaining
                                 what efforts you made to obtain the briefing, why             what efforts you made to obtain the briefing, why
                                 you were unable to obtain it before you filed for             you were unable to obtain it before you filed for
                                 bankruptcy, and what exigent circumstances                    bankruptcy, and what exigent circumstances
                                 required you to file this case.                               required you to file this case.

                                 Your case may be dismissed if the court is                    Your case may be dismissed if the court is
                                 dissatisfied with your reasons for not receiving a            dissatisfied with your reasons for not receiving a
                                 briefing before you filed for bankruptcy.                     briefing before you filed for bankruptcy.

                                 If the court is satisfied with your reasons, you must         If the court is satisfied with your reasons, you must
                                 still receive a briefing within 30 days after you file.       still receive a briefing within 30 days after you file.
                                 You must file a certificate from the approved                 You must file a certificate from the approved
                                 agency, along with a copy of the payment plan you             agency, along with a copy of the payment plan you
                                 developed, if any. If you do not do so, your case             developed, if any. If you do not do so, your case
                                 may be dismissed.                                             may be dismissed.

                                 Any extension of the 30-day deadline is granted               Any extension of the 30-day deadline is granted
                                 only for cause and is limited to a maximum of 15              only for cause and is limited to a maximum of 15
                                 days.                                                         days.

                                 I am not required to receive a briefing about                 I am not required to receive a briefing about
                                 credit counseling because of:                                 credit counseling because of:

                                     Incapacity.    I have a mental illness or a mental            Incapacity.    I have a mental illness or a mental
                                                    deficiency that makes me                                      deficiency that makes me
                                                    incapable of realizing or making                              incapable of realizing or making
                                                    rational decisions about finances.                            rational decisions about finances.

                                     Disability.    My physical disability causes me               Disability.    My physical disability causes me
                                                    to be unable to participate in a                              to be unable to participate in a
                                                    briefing in person, by phone, or                              briefing in person, by phone, or
                                                    through the internet, even after I                            through the internet, even after I
                                                    reasonably tried to do so.                                    reasonably tried to do so.
                                     Active duty. I am currently on active military                Active duty. I am currently on active military
                                                  duty in a military combat zone.                               duty in a military combat zone.
                                 If you believe you are not required to receive a              If you believe you are not required to receive a
                                 briefing about credit counseling, you must file a             briefing about credit counseling, you must file a
                                 motion for waiver of credit counseling with the court.        motion for waiver of credit counseling with the court.

Official Form 101
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Debtor 1     David                                        Johannsen                        Case number (if known)
             First Name            Middle Name            Last Name


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you         16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                     as "incurred by an individual primarily for a personal, family, or household purpose."
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                      16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                      16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                               No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                             No
    are paid that funds will be
                                                        Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                    1-49                             1,000-5,000                           25,001-50,000
    you estimate that you                    50-99                            5,001-10,000                          50,001-100,000
    owe?                                     100-199                          10,001-25,000                         More than 100,000
                                             200-999

19. How much do you                          $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your assets to                  $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be worth?                                $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

20. How much do you                          $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your liabilities to             $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be?                                      $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

 Part 7:      Sign Below
For you                               I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                      and correct.

                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                      or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                      proceed under Chapter 7.

                                      If no attorney represents me and I did not pay or agree to pay someone who is an attorney to help me fill
                                      out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                      connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                      or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                      X /s/ David Johannsen                                       X /s/ Darlene N. Johannsen
                                         Signature of Debtor 1                                       Signature of Debtor 2

                                         Executed on 12/30/2015                                      Executed on 12/30/2015
                                                     MM / DD / YYYY                                              MM / DD / YYYY



Official Form 101
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                                                   12/30/15for Individuals Filing for Bankruptcy
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Debtor 1     David                                    Johannsen                        Case number (if known)
             First Name         Middle Name           Last Name

For your attorney, if you are      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                 eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                   relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by      the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need       certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                 is incorrect.



                                   X /s/ Jocelyn M. Godinho                                              Date 12/30/2015
                                      Signature of Attorney for Debtor                                        MM / DD / YYYY


                                      Jocelyn M. Godinho
                                      Printed name
                                      Thomas B. Hjerpe, Attorney at Law
                                      Firm Name
                                      350 E Street, Suite 403
                                      Number          Street




                                      Eureka                                                     CA              95501
                                      City                                                       State           ZIP Code


                                      Contact phone (707) 442-7262                     Email address jocelyn@hjerpelaw.com


                                      SBN 275680
                                      Bar number                                                 State




Official Form 101
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                                         Filed:Petition
                                                12/30/15for Individuals Filing for Bankruptcy
                                                                  Entered: 12/30/15 15:23:55                          Page 7 of 57           page 7
  Fill in this information to identify your case and this filing:
  Debtor 1               David                                           Johannsen
                         First Name                  Middle Name         Last Name

  Debtor 2            Darlene                        N.                  Johannsen
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

  Case number
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
6225 Beachwood Drive                                       Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                        Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building             Current value of the       Current value of the
                                                               Condominium or cooperative                entire property?           portion you own?
Eureka                           CA       95503                Manufactured or mobile home                         $150,000.00                $150,000.00
City                             State    ZIP Code             Land
                                                               Investment property                       Describe the nature of your ownership
                                                               Timeshare                                 interest (such as fee simple, tenancy by the
Humboldt                                                                                                 entireties, or a life estate), if known.
                                                               Other
County
                                                           Who has an interest in the property?
                                                                                                         Fee Simple
Debtor's residence                                         Check one.
Realtor's Opinion of Value as of
                                                               Debtor 1 only                                Check if this is community property
11/5/15 by Scott Erwin of Coldwell
                                                               Debtor 2 only                                (see instructions)
Banker Cutten Realty. Realtor
estimates that $60K needs to be spent                          Debtor 1 and Debtor 2 only
for improvments for roof repair, paint,                        At least one of the debtors and another
floor covering, pest work and debris                       Other information you wish to add about this item, such as local
removal.                                                   property identification number:




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        Form 106A/B                        Doc# 1          Filed: 12/30/15     Entered:
                                                                    Schedule A/B: Property 12/30/15 15:23:55                     Page 8 of 57       page 1
Debtor 1         David                                            Johannsen                            Case number (if known)
                 First Name              Middle Name              Last Name

1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
Loghouse Road, Dorris, CA                                Check all that apply.                               amount of any secured claims on Schedule D:
33 Acres; APN 003-181-100-000. 33.8                           Single-family home                             Creditors Who Have Claims Secured by Property.
acres of raw land; Realtor's Opinion of                       Duplex or multi-unit building                  Current value of the              Current value of the
Value by Bob Cozine of Century 21                             Condominium or cooperative                     entire property?                  portion you own?
Pioneer Realty in Yreka, CA.                                  Manufactured or mobile home                                  $30,000.00                   $30,000.00
                                                              Land
                                                              Investment property                            Describe the nature of your ownership
County                                                        Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other Loghouse Road, Dorris, CA                entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Fee Simple
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................             $180,000.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         Chevy                      Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Tahoe
                                                              Debtor 2 only                           Current value of the                     Current value of the
Year:                         2002                                                                    entire property?                         portion you own?
                                                              Debtor 1 and Debtor 2 only
Approximate mileage: 200,000                                  At least one of the debtors and another             $2,938.00                               $2,938.00
Other information:
Vehicle (broke down and will cost                             Check if this is community property
$2,500 to fix); KBB Fair condition                            (see instructions)
private party value as of 11/12/15
3.2.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         Honda                      Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        CRV
                                                              Debtor 2 only                           Current value of the                     Current value of the
Year:                         2000
                                                              Debtor 1 and Debtor 2 only              entire property?                         portion you own?
Approximate mileage: 220,000                                  At least one of the debtors and another             $2,659.00                               $2,659.00
Other information:
KBB Good condition private party value                        Check if this is community property
as of 11/12/15                                                (see instructions)




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        Form 106A/B                     Doc# 1           Filed: 12/30/15     Entered:
                                                                  Schedule A/B: Property 12/30/15 15:23:55                                   Page 9 of 57      page 2
Debtor 1         David                                          Johannsen                            Case number (if known)
                 First Name              Middle Name            Last Name

3.3.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         Chrysler                 Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Voyager
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2002                                                                  entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 250,000                                At least one of the debtors and another                $561.00                              $561.00
Other information:
eC Minivann; KBB Fair condition                             Check if this is community property
private party value as of 11/12/15                          (see instructions)
(broken down)
3.4.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         Mercedes                 Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Benz
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         1999                                                                  entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 185,000                                At least one of the debtors and another             $1,265.00                             $1,265.00
Other information:
S420; KBB Fair condition private party                      Check if this is community property
value as of 11/12/15 (broken down)                          (see instructions)

3.5.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         Damon                    Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Escaper
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         1993                                                                  entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage:                                        At least one of the debtors and another             $3,150.00                             $3,150.00
Other information:
29' 5th Wheel (purchased 01/15 for                          Check if this is community property
$5,000, but is still not in their name);                    (see instructions)
Nada Average Retail Value as of
11/16/15
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $10,573.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               All Household Goods and furnishings                                                                                    $5,000.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............




      Case:
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         Form 106A/B                   Doc# 1          Filed: 12/30/15     Entered:
                                                                 Schedule A/B: Property 12/30/15 15:23:55                              Page 10 of 57       page 3
Debtor 1          David                                                             Johannsen                                        Case number (if known)
                  First Name                       Middle Name                      Last Name

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............
                                Books, pictures, CD's and DVD's                                                                                                                                              $200.00

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                Sports & Hobby Equipment                                                                                                                                                     $200.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Clothing                                                                                                                                                                     $500.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Jewelry                                                                                                                                                                      $800.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                3 Birds, 5 dogs, 3 goats, 4 cats (no value)                                                                                                                                      $0.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                    $6,700.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $50.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.        Checking account:                     Wells Fargo Account ending 8287 (overdrawn)                                                                                                      $0.00


      Case:
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                                                                                Schedule A/B: Property 12/30/15 15:23:55                                                         Page 11 of 57                     page 4
Debtor 1         David                                                   Johannsen                    Case number (if known)
                 First Name                     Middle Name              Last Name

            17.2.       Checking account:                Wells Fargo Account ending 8295 (overdrawn)                                            $0.00
            17.3.       Checking account:                MetaBank Bank Account number ending 9657                                               $0.00
            17.4.       Savings account:                 Wells Fargo Account ending 9976                                                        $0.00
            17.5.       Savings account:                 Wells Fargo Account ending 9968                                                        $0.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                     % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific                 Issuer name:
           information about
           them...............................................




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:            Institution name:
                                           Retirement account:         Debtor's CalPERS; Debtor's monthly award disclosed,
                                                                       but entire amount claimed as exempt should it be
                                                                       deemed an asset in the bankruptcy case. Debtor
                                                                       contends this property is excluded from the
                                                                       bankruptcy estate pursuant to 11 U.S.C. s 522(b)(3)
                                                                       (C).                                                                $183.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:




      Case:
Official       15-11308
         Form 106A/B                           Doc# 1            Filed: 12/30/15     Entered:
                                                                           Schedule A/B: Property 12/30/15 15:23:55             Page 12 of 57   page 5
Debtor 1       David                                           Johannsen                         Case number (if known)
               First Name              Middle Name             Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information Federal: Estimated 2015 Income tax refund based on 2014                            Federal:             $7,600.00
           about them, including whether Income Tax refund. Amt: $7,600.00
           you already filed the returns                                                                                     State:                    $0.00
           and the tax years.....................................
                                                                                                                             Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                       Alimony:                               $0.00
                                                                                                                Maintenance:                           $0.00
                                                                                                                Support:                               $0.00

                                                                                                                Divorce settlement:                    $0.00
                                                                                                                Property settlement:                   $0.00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information




      Case:
Official       15-11308
         Form 106A/B                 Doc# 1          Filed: 12/30/15     Entered:
                                                               Schedule A/B: Property 12/30/15 15:23:55                          Page 13 of 57          page 6
Debtor 1         David                                                     Johannsen                                 Case number (if known)
                 First Name                   Middle Name                  Last Name

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance               Company name:                                                 Beneficiary:                                Surrender or refund value:
            company of each policy
            and list its value................




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $7,833.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................




      Case:
Official       15-11308
         Form 106A/B                       Doc# 1             Filed: 12/30/15     Entered:
                                                                        Schedule A/B: Property 12/30/15 15:23:55                                           Page 14 of 57         page 7
Debtor 1          David                                                    Johannsen                                 Case number (if known)
                  First Name                   Middle Name                 Last Name

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:




43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific
            information..................




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................




      Case:
Official       15-11308
         Form 106A/B                          Doc# 1          Filed: 12/30/15     Entered:
                                                                        Schedule A/B: Property 12/30/15 15:23:55                                           Page 15 of 57         page 8
Debtor 1           David                                                        Johannsen                                     Case number (if known)
                   First Name                      Middle Name                  Last Name

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

             No
             Yes..............................

50. Farm and fishing supplies, chemicals, and feed

             No
             Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

             No
             Yes. Give specific
             information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................                        $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific
             information.......................




54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $180,000.00

56. Part 2: Total vehicles, line 5                                                                                  $10,573.00

57. Part 3: Total personal and household items, line 15                                                               $6,700.00

58. Part 4: Total financial assets, line 36                                                                           $7,833.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                     Add lines 56 through 61.................................           $25,106.00              property total                 +           $25,106.00


63. Total of all property on Schedule A/B.                                                                                                                                                  $205,106.00
                                                                    Add line 55 + line 62.......................................................................................................




      Case:
Official       15-11308
         Form 106A/B                             Doc# 1            Filed: 12/30/15     Entered:
                                                                             Schedule A/B: Property 12/30/15 15:23:55                                                  Page 16 of 57           page 9
 Fill in this information to identify your case:
 Debtor 1            David                                        Johannsen
                     First Name            Middle Name            Last Name
 Debtor 2            Darlene               N.                     Johannsen
 (Spouse, if filing) First Name            Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                      Check if this is an
 Case number                                                                                                          amended filing
 (if known)



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?              Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on            Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                    the portion you       exemption you claim
                                                         own
                                                         Copy the value from Check only one box for
                                                         Schedule A/B        each exemption


Brief description                                          $150,000.00                    $10.00           C.C.P. § 703.140(b)(5)
Debtor's residence                                                                 100% of fair market
Realtor's Opinion of Value as of 11/5/15 by                                        value, up to any
Scott Erwin of Coldwell Banker Cutten                                              applicable statutory
Realty. Realtor estimates that $60K needs                                          limit
to be spent for improvments for roof
repair, paint, floor covering, pest work and
debris removal.
Line from Schedule A/B:   1.1



3. Are you claiming a homestead exemption of more than $155,675?
Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                page 1
      (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1



     Case: 15-11308               Doc# 1         Filed: 12/30/15              Entered: 12/30/15 15:23:55                    Page 17 of 57
Debtor 1     David                                     Johannsen                     Case number (if known)
             First Name          Middle Name           Last Name


 Part 2:       Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description                                      $30,000.00               $19,030.00          C.C.P. § 703.140(b)(5)
Loghouse Road, Dorris, CA                                                    100% of fair market
33 Acres; APN 003-181-100-000. 33.8                                          value, up to any
acres of raw land; Realtor's Opinion of                                      applicable statutory
Value by Bob Cozine of Century 21 Pioneer                                    limit
Realty in Yreka, CA.
Line from Schedule A/B: 1.2

Brief description                                       $2,938.00                $2,938.00          C.C.P. § 703.140(b)(2)
Vehicle (broke down and will cost $2,500                                     100% of fair market
to fix); KBB Fair condition private party                                    value, up to any
value as of 11/12/15                                                         applicable statutory
Line from Schedule A/B:  3.1                                                 limit

Brief description                                       $2,659.00                $2,659.00          C.C.P. § 703.140(b)(5)
KBB Good condition private party value as                                    100% of fair market
of 11/12/15                                                                  value, up to any
Line from Schedule A/B: 3.2                                                  applicable statutory
                                                                             limit

Brief description                                        $561.00                  $561.00           C.C.P. § 703.140(b)(5)
eC Minivann; KBB Fair condition private                                      100% of fair market
party value as of 11/12/15 (broken down)                                     value, up to any
Line from Schedule A/B:  3.3                                                 applicable statutory
                                                                             limit

Brief description                                       $1,265.00                $1,265.00          C.C.P. § 703.140(b)(5)
S420; KBB Fair condition private party                                       100% of fair market
value as of 11/12/15 (broken down)                                           value, up to any
Line from Schedule A/B:  3.4                                                 applicable statutory
                                                                             limit

Brief description                                       $3,150.00                $3,150.00          C.C.P. § 703.140(b)(5)
29' 5th Wheel (purchased 01/15 for $5,000,                                   100% of fair market
but is still not in their name); Nada Average                                value, up to any
Retail Value as of 11/16/15                                                  applicable statutory
Line from Schedule A/B:     3.5                                              limit

Brief description                                       $5,000.00                $5,000.00          C.C.P. § 703.140(b)(3)
All Household Goods and furnishings                                          100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description                                        $200.00                  $200.00           C.C.P. § 703.140(b)(3)
Books, pictures, CD's and DVD's                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description                                        $200.00                  $200.00           C.C.P. § 703.140(b)(5)
Sports & Hobby Equipment                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit


Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
     Case: 15-11308             Doc# 1          Filed: 12/30/15        Entered: 12/30/15 15:23:55               Page 18 of 57
Debtor 1     David                                     Johannsen                     Case number (if known)
             First Name          Middle Name           Last Name


 Part 2:       Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description                                        $500.00                  $500.00           C.C.P. § 703.140(b)(3)
Clothing                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description                                        $800.00                  $800.00           C.C.P. § 703.140(b)(4)
Jewelry                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description                                        $50.00                    $50.00           C.C.P. § 703.140(b)(5)
Cash on Hand                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description                                        $183.00                  $183.00           C.C.P. § 703.140(b)(10)(E)
Debtor's CalPERS; Debtor's monthly award                                     100% of fair market
disclosed, but entire amount claimed as                                      value, up to any
exempt should it be deemed an asset in                                       applicable statutory
the bankruptcy case. Debtor contends this                                    limit
property is excluded from the bankruptcy
estate pursuant to 11 U.S.C. s 522(b)(3)(C).
Line from Schedule A/B: 21




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
     Case: 15-11308             Doc# 1          Filed: 12/30/15        Entered: 12/30/15 15:23:55               Page 19 of 57
  Fill in this information to identify your case:
  Debtor 1             David                                        Johannsen
                       First Name            Middle Name            Last Name

  Debtor 2            Darlene                N.                     Johannsen
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one              Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As           Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the          Do not deduct the      that supports this     portion
        creditor's name.                                                                  value of collateral    claim                  If any

  2.1                                             Describe the property that
                                                  secures the claim:                           $194,580.95             $150,000.00            $44,580.95
Caliber Home Loans                                6225 Beachwood Drive,
Creditor's name
P.O. Box 619063                                   Eureka, CA 95503
Number       Street


Dallas                   TX      75261            As of the date you file, the claim is: Check all that apply.
City                     State   ZIP Code             Contingent
                                                      Unliquidated
Who owes the debt? Check one.
                                                      Disputed
   Debtor 1 only
   Debtor 2 only                           Nature of lien. Check all that apply.
   Debtor 1 and Debtor 2 only                 An agreement you made (such as mortgage or secured car loan)
   At least one of the debtors and another    Statutory lien (such as tax lien, mechanic's lien)
                                              Judgment lien from a lawsuit
   Check if this claim relates                Other (including a right to offset) Mortgage
   to a community debt

Date debt was incurred                            Last 4 digits of account number        5     2    1    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $194,580.95

      Case:
Official       15-11308
         Form 106D                   Doc#Schedule
                                          1 Filed:     12/30/15
                                                  D: Creditors       Entered:
                                                               Who Have          12/30/15
                                                                        Claims Secured       15:23:55
                                                                                       by Property                          Page 20 of 57         page 1
Debtor 1      David                                       Johannsen                        Case number (if known)
              First Name              Middle Name         Last Name


                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                            $26,334.85              $26,334.85
Caliber Home Loans                             6225 Beachwood Drive,
Creditor's name
P.O. Box 619063                                Eureka, CA 95503
Number     Street


Dallas                  TX      75261          As of the date you file, the claim is: Check all that apply.
City                    State   ZIP Code           Contingent
                                                   Unliquidated
Who owes the debt? Check one.
                                                   Disputed
   Debtor 1 only
   Debtor 2 only                           Nature of lien. Check all that apply.
   Debtor 1 and Debtor 2 only                 An agreement you made (such as mortgage or secured car loan)
   At least one of the debtors and another    Statutory lien (such as tax lien, mechanic's lien)
                                              Judgment lien from a lawsuit
   Check if this claim relates                Other (including a right to offset) Arrearage claim
   to a community debt

Date debt was incurred          Various        Last 4 digits of account number        5     2    1    2

  2.3                                          Describe the property that
                                               secures the claim:                               $2,660.00           $150,000.00
Coast Central Credit Union                     6225 Beachwood Drive,
Creditor's name
2650 Harrison Avenue                           Eureka, CA 95503
Number     Street


Eureka                  CA      95501          As of the date you file, the claim is: Check all that apply.
City                    State   ZIP Code           Contingent
                                                   Unliquidated
Who owes the debt? Check one.
                                                   Disputed
   Debtor 1 only
   Debtor 2 only                           Nature of lien. Check all that apply.
   Debtor 1 and Debtor 2 only                 An agreement you made (such as mortgage or secured car loan)
   At least one of the debtors and another    Statutory lien (such as tax lien, mechanic's lien)
                                              Judgment lien from a lawsuit
   Check if this claim relates                Other (including a right to offset) Account Balance
   to a community debt

Date debt was incurred                         Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                            $28,994.85

      Case:
Official       15-11308 Additional
         Form 106D        Doc# 1PageFiled: 12/30/15
                                    of Schedule            Entered:
                                                D: Creditors          12/30/15
                                                             Who Have Claims      15:23:55
                                                                             Secured by Property                         Page 21 of 57     page 2
Debtor 1      David                                       Johannsen                        Case number (if known)
              First Name              Middle Name         Last Name


                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.4                                          Describe the property that
                                               secures the claim:                            $90,910.49             $150,000.00
Ocwen Loan Servicing                           6225 Beachwood Drive,
Creditor's name
P.O. Box 785057                                Eureka, CA 95503
Number     Street


Orlando                 FL      32878-5057     As of the date you file, the claim is: Check all that apply.
City                    State   ZIP Code           Contingent
                                                   Unliquidated
Who owes the debt? Check one.
                                                   Disputed
   Debtor 1 only
   Debtor 2 only                           Nature of lien. Check all that apply.
   Debtor 1 and Debtor 2 only                 An agreement you made (such as mortgage or secured car loan)
   At least one of the debtors and another    Statutory lien (such as tax lien, mechanic's lien)
                                              Judgment lien from a lawsuit
   Check if this claim relates                Other (including a right to offset) Mortgage
   to a community debt

Date debt was incurred                         Last 4 digits of account number        7     8    7    3

  2.5                                          Describe the property that
                                               secures the claim:                            $35,000.00              $35,000.00
Ocwen Loan Servicing                           6225 Beachwood Drive,
Creditor's name
P.O. Box 785057                                Eureka, CA 95503
Number     Street


Orlando                 FL      32878-5057     As of the date you file, the claim is: Check all that apply.
City                    State   ZIP Code           Contingent
                                                   Unliquidated
Who owes the debt? Check one.
                                                   Disputed
   Debtor 1 only
   Debtor 2 only                           Nature of lien. Check all that apply.
   Debtor 1 and Debtor 2 only                 An agreement you made (such as mortgage or secured car loan)
   At least one of the debtors and another    Statutory lien (such as tax lien, mechanic's lien)
                                              Judgment lien from a lawsuit
   Check if this claim relates                Other (including a right to offset) Arrearage claim
   to a community debt

Date debt was incurred          Various        Last 4 digits of account number        7     8    7    3




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $125,910.49

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $349,486.29

      Case:
Official       15-11308 Additional
         Form 106D        Doc# 1PageFiled: 12/30/15
                                    of Schedule            Entered:
                                                D: Creditors          12/30/15
                                                             Who Have Claims      15:23:55
                                                                             Secured by Property                         Page 22 of 57     page 3
 Fill in this information to identify your case:
 Debtor 1           David                                         Johannsen
                    First Name             Middle Name            Last Name

 Debtor 2            Darlene               N.                     Johannsen
 (Spouse, if filing) First Name            Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:       List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.

2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
     claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
     show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
     more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
     claim, list the other creditors in Part 3.

     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                    Total claim       Priority              Nonpriority
                                                                                                                      amount                amount




      Case:
Official       15-11308
         Form 106E/F              Doc# 1          Filed:E/F:
                                                Schedule 12/30/15       Entered:
                                                             Creditors Who         12/30/15
                                                                           Have Unsecured      15:23:55
                                                                                          Claims                          Page 23 of 57            page 1
Debtor 1       David                                          Johannsen                         Case number (if known)
               First Name                Middle Name          Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with you other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                               $0.00
Ad Astra Rec.                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
7330 W. 33rd Street N Ste 118
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
Wichita                         KS        67205                  Disputed
City                            State     ZIP Code
Who incurred the debt?      Check one.
                                                             Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                                Student loans
   Debtor 2 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                                that you did not report as priority claims
   At least one of the debtors and another
                                                                Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt              Other. Specify Collections fo Speedy Cash
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $1,774.13
Aladdin Bail Bonds                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
503 H Street
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
Eureka                          CA        95501                  Disputed
City                            State     ZIP Code
Who incurred the debt?      Check one.
                                                             Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                                Student loans
   Debtor 2 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                                that you did not report as priority claims
   At least one of the debtors and another
                                                                Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt              Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                    Doc# 1         Filed:E/F:
                                                     Schedule 12/30/15       Entered:
                                                                  Creditors Who         12/30/15
                                                                                Have Unsecured      15:23:55
                                                                                               Claims                          Page 24 of 57          page 2
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                  $188.00
AT&T                                                       Last 4 digits of account number       6    5    7    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 9039
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
South San Francisco           CA        94083                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                    $0.00
Barrett Daffin Frappier Treder & Weiss,                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
15000 Surveyor Blvd. Suite 500
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Addison                       TX        75001                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Foreclosure Agent for Caliber Home Loans
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                  $475.00
Capital One Services                                       Last 4 digits of account number       8    9    0    1
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 30285
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Salt Lake City                UT        84130-0285             Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 25 of 57   page 3
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                                  $173.00
Capital One Services                                       Last 4 digits of account number       8    1    0    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 30285
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Salt Lake City                UT        84130-0285             Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                $3,798.53
Cash Central                                               Last 4 digits of account number       3    3    4    0
Nonpriority Creditor's Name
                                                           When was the debt incurred?
84 East 2400 North
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
N. Logan                      UT        84341                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                  $315.00
Cash Net USA                                               Last 4 digits of account number       0    8    4    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?
175 West Jackson Suite 1000
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Chicago                       IL        60604                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 26 of 57   page 4
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.9                                                                                                                                $4,172.00
Chase Correspondence                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 15298
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Wilmington                    DE        19850-5298             Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                  $992.36
Credit One Bank                                            Last 4 digits of account number       4    2    4    5
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 98873
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Las Vegas                     NV        89193                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                    $0.00
Enhanced Recovery Corp                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
8014 Bayberry Rd
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Jacksonville                  FL        32256-7412             Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Collections for AT&T
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 27 of 57   page 5
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                                  $600.00
Fingerhut                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 166
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Newark                        NJ        07101-0166             Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                  $744.00
First Premier Bank                                         Last 4 digits of account number       8    2    3    6
Nonpriority Creditor's Name
                                                           When was the debt incurred?
3820 N Louise Avenue
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Sioux Falls                   SD        57104                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                  $293.50
Flurish Ine dba Lend Up Loans                              Last 4 digits of account number       2    8    0    2
Nonpriority Creditor's Name
                                                           When was the debt incurred?
237 Kenny Street #372
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
San Francisco                 CA        94108                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 28 of 57   page 6
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                                  $785.52
Flurish Ine dba Lend Up Loans                              Last 4 digits of account number       0    5    8    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?
237 Kenny Street #372
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
San Francisco                 CA        94108                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                $5,000.00
Great Plains Lending                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
1050 East 2nd Street, Box 500
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Edmond                        OK        73034                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                  $579.80
Greene & Markley, P.C.                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
1515 SW 5th Street Ste 600
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Portland                      OR        97201                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 29 of 57   page 7
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.18                                                                                                                                    $0.00
J&L Teamworks                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
651 N. Cherokee Lane #B2
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Lodi                          CA        95240                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Collections for St. Joseph Hospital
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                    $0.00
J.C. Christensen & Associates                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 519
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Sauk Rapids                   MN        56379                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Collections for Credit One
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                    $0.00
LVNV Funding                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 10497
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Greenville                    SC        29603                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Same as Credit One
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 30 of 57   page 8
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.21                                                                                                                                  $587.00
MABT/Contfin                                               Last 4 digits of account number       0    3    9    1
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 8099
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Newark                        DE        19714                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                    $0.00
Midland Credit Managment                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
2365 Northside Drive Ste 300
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
San Diego                     CA        92108                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Collections for Webbank
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                  $704.81
Mobiloans LL                                               Last 4 digits of account number       9    2    0    5
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 1409
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Marksville                    LA        71351                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 31 of 57   page 9
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.24                                                                                                                                     $0.00
National Credit Adjuster                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
327 W 4th Avenue
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Hutchinson                    KS        67501                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Collections for Cash Central
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                   $900.00
Richard F. Wolven, D.D.S.                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
2750 Harrison Avenue
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Eureka                        CA        95501                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                     $0.00
Sonoma Co Credit/Palmer Syst.                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 1040
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Santa Clara                   CA        95052                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Collections for St. Joseph Hospital
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 32 of 57 page 10
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.27                                                                                                                                   $315.00
Speedy Cash                                                Last 4 digits of account number       5    0    9    6
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 78048
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Wichita                       KS        67278                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                   $275.75
St. Joseph Hospital                                        Last 4 digits of account number       7    7    4    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?
2700 Dolbeer Street
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Eureka                        CA        95501                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Medical Bills
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                   $791.00
St. Joseph Hospital                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
2700 Dolbeer Street
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Eureka                        CA        95501                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Medical Bills
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 33 of 57 page 11
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.30                                                                                                                                   $809.00
St. Joseph Hospital                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
2700 Dolbeer Street
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Eureka                        CA        95501                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Medical Bills
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                    $37.00
St. Joseph Hospital                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
2700 Dolbeer Street
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Eureka                        CA        95501                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Medical Bills
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                     $0.00
Titan Receivables, Inc.                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
P.O. Box 61749
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Irvine                        CA        92602                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Attorney for Aladdin Bail Bonds
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 34 of 57 page 12
Debtor 1       David                                        Johannsen                        Case number (if known)
               First Name              Middle Name          Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.33                                                                                                                                   $553.48
Webbank                                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
6440 South Wasatch Blvd. Ste 300
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Salt Lake City                UT        84121                  Disputed
City                          State     ZIP Code
Who incurred the debt?      Check one.
                                                           Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                              Student loans
   Debtor 2 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                              that you did not report as priority claims
   At least one of the debtors and another
                                                              Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt            Other. Specify Account Balance
Is the claim subject to offset?
     No
     Yes




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1         Filed:E/F:
                                                   Schedule 12/30/15       Entered:
                                                                Creditors Who         12/30/15
                                                                              Have Unsecured      15:23:55
                                                                                             Claims                       Page 35 of 57 page 13
Debtor 1       David                                            Johannsen                  Case number (if known)
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                   Total claim

Total claims        6a. Domestic support obligations                                                     6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                             6b.                     $0.00

                    6c. Claims for death or personal injury while you were intoxicated                   6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.          6d.   +                 $0.00


                    6e. Total.       Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                   Total claim

Total claims        6f.     Student loans                                                                6f.                     $0.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                     6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                      6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $24,863.88


                    6j.     Total.   Add lines 6f through 6i.                                            6j.             $24,863.88




      Case:
Official       15-11308
         Form 106E/F                  Doc# 1        Filed:E/F:
                                                  Schedule 12/30/15       Entered:
                                                               Creditors Who         12/30/15
                                                                             Have Unsecured      15:23:55
                                                                                            Claims                         Page 36 of 57 page 14
 Fill in this information to identify your case:
 Debtor 1            David                                       Johannsen
                     First Name           Middle Name            Last Name

 Debtor 2            Darlene              N.                     Johannsen
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
     Case: 15-11308               Doc# 1        Filed: 12/30/15              Entered: 12/30/15 15:23:55                 Page 37 of 57
 Fill in this information to identify your case:
 Debtor 1             David                                              Johannsen
                      First Name             Middle Name                 Last Name

 Debtor 2            Darlene                 N.                          Johannsen
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 Case number
                                                                                                                        Check if this is an
 (if known)
                                                                                                                        amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
               In which community state or territory did you live?              California     Fill in the name and current address of that person.

               Darlene N. Johannsen
               Name of your spouse, former spouse, or legal equivalent
               6225 Beachwood Drive
               Number        Street


               Eureka                                          CA              95503
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
     Case: 15-11308                   Doc# 1        Filed: 12/30/15                  Entered: 12/30/15 15:23:55             Page 38 of 57
 Fill in this information to identify your case:
     Debtor 1              David                                      Johannsen
                           First Name           Middle Name           Last Name                           Check if this is:
     Debtor 2              Darlene              N.                    Johannsen                                An amended filing
     (Spouse, if filing)   First Name           Middle Name           Last Name
                                                                                                               A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF CALIFORNIA
                                                                                                               chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                               MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                            Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                           Employed
      with information about                                         Not employed                                       Not employed
      additional employers.
                                        Occupation            Retired                                            Merchandiser
      Include part-time, seasonal,
      or self-employed work.            Employer's name                                                          American Greetings

      Occupation may include            Employer's address                                                       One American Road
      student or homemaker, if it                             Number Street                                      Number Street
      applies.




                                                                                                                 Cleveland              OH      44144
                                                              City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?                                                         6 Years


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                           For Debtor 1            For Debtor 2 or
                                                                                                                   non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                    $0.00              $1,047.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                     3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                4.                  $0.00              $1,047.00




Official Form 106I                                        Schedule I: Your Income                                                                   page 1
       Case: 15-11308                Doc# 1      Filed: 12/30/15      Entered: 12/30/15 15:23:55                              Page 39 of 57
Debtor 1 David                                                                     Johannsen                                          Case number (if known)
            First Name                          Middle Name                        Last Name


                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00           $1,047.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                   $97.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                    $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                    $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                    $0.00
     5e. Insurance                                                                                              5e.                  $0.00                    $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                    $0.00
     5g. Union dues                                                                                             5g.                  $0.00                    $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                     $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                   $97.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                  $950.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                     $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00                     $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                     $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                              8d.               $0.00                       $0.00
     8e. Social Security                                                                                        8e.           $1,083.00                     $541.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify: VA Benefits                                                                                   8f.           $4,273.00                        $0.00
     8g. Pension or retirement income                                                                           8g.              $183.00                       $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                     $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $5,539.00                     $541.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.           $5,539.00           +       $1,491.00       =       $7,030.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $7,030.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                            Combined
                                                                                                                                                                              monthly income




Official Form 106I                                                        Schedule I: Your Income                                                                                      page 2
     Case: 15-11308                          Doc# 1              Filed: 12/30/15      Entered: 12/30/15 15:23:55                                               Page 40 of 57
Debtor 1 David                                          Johannsen                     Case number (if known)
          First Name            Middle Name             Last Name


13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
          Yes. Explain:




Official Form 106I                                     Schedule I: Your Income                                            page 3
     Case: 15-11308            Doc# 1         Filed: 12/30/15      Entered: 12/30/15 15:23:55             Page 41 of 57
Debtor 1 David                                          Johannsen                     Case number (if known)
          First Name             Middle Name            Last Name




1.   Additional Employers Debtor 1                                             Debtor 2 or non-filing spouse

     Occupation                                                                Merchandiser
     Employer's name                                                           ING
     Employer's address                                                        1955 Lake Park Drive Ste 400


                                                                               Smyrna                          GA      30080
                          City                             State    Zip Code   City                            State   Zip Code

     How long employed there?                                                            10 Years




Official Form 106I                                      Schedule I: Your Income                                                page 4
     Case: 15-11308          Doc# 1            Filed: 12/30/15      Entered: 12/30/15 15:23:55            Page 42 of 57
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              David                                         Johannsen                           An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Darlene                N.                     Johannsen
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF CALIFORNIA                                MM / DD / YYYY
     Case number
     (if known)


Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's   Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age           live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                          No
                                                                                  Granddaughter                       16
                                                                                                                                         Yes
      Do not state the dependents'
                                                                                                                                         No
      names.
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?




 Official Form 106J                                         Schedule J: Your Expenses                                                            page 1
       Case: 15-11308              Doc# 1          Filed: 12/30/15      Entered: 12/30/15 15:23:55                         Page 43 of 57
Debtor 1 David                                              Johannsen                     Case number (if known)
          First Name               Middle Name              Last Name


 Part 2:       Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                         Your expenses

4.   The rental or home ownership expenses for your residence.                                          4.                     $1,223.00
     Include first mortgage payments and any rent for the ground or lot.
     If not included in line 4:

     4a. Real estate taxes                                                                              4a.

     4b. Property, homeowner's, or renter's insurance                                                   4b.                        $100.00
     4c. Home maintenance, repair, and upkeep expenses                                                  4c.                        $300.00
     4d. Homeowner's association or condominium dues                                                    4d.




 Official Form 106J                                       Schedule J: Your Expenses                                                   page 2
     Case: 15-11308               Doc# 1         Filed: 12/30/15      Entered: 12/30/15 15:23:55                 Page 44 of 57
Debtor 1 David                                             Johannsen                   Case number (if known)
            First Name              Middle Name            Last Name


                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                   $200.00
     6b. Water, sewer, garbage collection                                                           6b.                   $140.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                   $490.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $900.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                    $150.00
10. Personal care products and services                                                             10.                   $150.00
11. Medical and dental expenses                                                                     11.                   $300.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                   $435.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                   $120.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                         15a.

     15b.    Health insurance                                                                       15b.

     15c.    Vehicle insurance                                                                      15c.                  $150.00
     15d.    Other insurance. Specify:                                                              15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                             17a.

     17b.    Car payments for Vehicle 2                                                             17b.

     17c.    Other. Specify:                                                                        17c.

     17d.    Other. Specify:                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                         page 3
     Case: 15-11308               Doc# 1          Filed: 12/30/15      Entered: 12/30/15 15:23:55            Page 45 of 57
Debtor 1 David                                               Johannsen                         Case number (if known)
           First Name                 Middle Name            Last Name


20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.               $23.00
    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: See continuation sheet                                                                   21.    +          $619.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.             $5,300.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.             $5,300.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.             $7,030.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –         $5,300.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.             $1,730.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form 106J                                          Schedule J: Your Expenses                                              page 4
     Case: 15-11308              Doc# 1             Filed: 12/30/15      Entered: 12/30/15 15:23:55                 Page 46 of 57
Debtor 1 David                                     Johannsen               Case number (if known)
         First Name         Middle Name            Last Name



21. Other. Specify:
    Christmas & Birthday Gifts                                                                            $150.00
    Tobacco                                                                                               $304.00
    Pets                                                                                                  $165.00

                                                                                 Total:                   $619.00




 Official Form 106J                                Schedule J: Your Expenses                                   page 5
    Case: 15-11308        Doc# 1          Filed: 12/30/15      Entered: 12/30/15 15:23:55      Page 47 of 57
 Fill in this information to identify your case:
 Debtor 1                David                                                       Johannsen
                         First Name                    Middle Name                   Last Name

 Debtor 2            Darlene                           N.                            Johannsen
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $180,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $25,106.00
     1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................................................................


                                                                                                                                                                            $205,106.00
     1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................................................................



 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $349,486.29
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $24,863.88
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $374,350.17




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $7,030.00
     Copy your combined monthly income from line 12 of Schedule I..............................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                 $5,300.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
     Case: 15-11308                        Doc# 1              Filed: 12/30/15                    Entered: 12/30/15 15:23:55                                   Page 48 of 57
Debtor 1      David                                       Johannsen                        Case number (if known)
              First Name            Middle Name           Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $5,579.96


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
     Case: 15-11308               Doc# 1          Filed: 12/30/15          Entered: 12/30/15 15:23:55                  Page 49 of 57
 Fill in this information to identify your case:
 Debtor 1           David                                    Johannsen
                    First Name          Middle Name          Last Name

 Debtor 2            Darlene            N.                   Johannsen
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ David Johannsen                                  X /s/ Darlene N. Johannsen
        Signature of Debtor 1                                 Signature of Debtor 2

        Date 12/30/2015                                       Date 12/30/2015
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                         Declaration About an Individual Debtor's Schedules                                        page 1
     Case: 15-11308               Doc# 1      Filed: 12/30/15            Entered: 12/30/15 15:23:55              Page 50 of 57
 Fill in this information to identify your case:
 Debtor 1           David                                        Johannsen
                    First Name            Middle Name            Last Name

 Debtor 2            Darlene              N.                     Johannsen
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                       Dates Debtor 1            Debtor 2:                                 Dates Debtor 2
                                                        lived there                                                         lived there

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
     Case: 15-11308               Doc# 1        Filed: 12/30/15              Entered: 12/30/15 15:23:55             Page 51 of 57
Debtor 1       David                                           Johannsen                     Case number (if known)
               First Name                Middle Name           Last Name


 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                        Debtor 1                                        Debtor 2

                                                       Sources of income          Gross income         Sources of income          Gross income
                                                       Check all that apply.      (before deductions   Check all that apply.      (before deductions
                                                                                  and exclusions                                  and exclusions

From January 1 of the current year until                   Wages, commissions,                             Wages, commissions,          $13,572.44
the date you filed for bankruptcy:                         bonuses, tips                                   bonuses, tips
                                                           Operating a business                            Operating a business


For the last calendar year:                                Wages, commissions,          $17,448.00         Wages, commissions,
                                                           bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2014 )
                                  YYYY                     Operating a business                            Operating a business


For the calendar year before that:                         Wages, commissions,          $18,416.00         Wages, commissions,
                                                           bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2013 )
                                  YYYY                     Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                        Debtor 1                                        Debtor 2

                                                       Sources of income          Gross income         Sources of income          Gross income
                                                       Describe below.            from each source     Describe below.            from each source
                                                                                  (before deductions                              (before deductions
                                                                                  and exclusions                                  and exclusions


From January 1 of the current year until               VA Benefits                      $46,997.61 Social Security Benefits             $11,913.00
the date you filed for bankruptcy:                     Social Security Benefits          $5,951.00
                                                       CalPers Benefits                  $2,014.87


For the last calendar year:                            Pension Income                    $2,141.00
(January 1 to December 31, 2014 )                      Social Security Benefits         $12,780.00
                                YYYY


For the calendar year before that:                     Pension Income                    $2,099.00
(January 1 to December 31, 2013 )                      Social Security Benefits        $125,858.00
                                YYYY                   Gambling Winnings                  $600.00




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
     Case: 15-11308                    Doc# 1          Filed: 12/30/15         Entered: 12/30/15 15:23:55                 Page 52 of 57
Debtor 1         David                                       Johannsen                       Case number (if known)
                 First Name           Middle Name            Last Name


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.


                                                             Dates of       Total amount         Amount you          Was this payment for...
                                                             payment        paid                 stil owe
7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

                                                             Dates of       Total amount         Amount you          Reason for this payment
                                                             payment        paid                 still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

                                                             Dates of       Total amount         Amount you          Reason for this payment
                                                             payment        paid                 still owe           Include creditor's name




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                 First Name             Middle Name             Last Name


  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
           Yes. Fill in the details.

                                                Nature of the case                        Court or agency                           Status of the case

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                            Date             Value of the property
Barrett Daffin Frappier Treder & Weiss,                         Foreclosure started - Notice of default           10/29/2015           $150,000.00
Creditor's Name                                                 recorded
15000 Surveyor Blvd. Suite 500
Number      Street                                              Explain what happened
                                                                   Property was repossessed.
                                                                   Property was foreclosed.
Addison                                TX         75001            Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.




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  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                        Description and value of any property transferred       Date payment         Amount of
Thomas B. Hjerpe, Attorney at Law                       $2000 Retainer for attorney fees and filing fees        or transfer was      payment
Person Who Was Paid                                                                                             made

350 E Street, Suite 403                                                                                            10/01/2015           $2,000.00
Number      Street




Eureka                          CA        95501
City                            State     ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




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 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.




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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ David Johannsen                                        X /s/ Darlene N. Johannsen
   Signature of Debtor 1                                         Signature of Debtor 2

   Date        12/30/2015                                        Date      12/30/2015

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                     Declaration, and Signature (Official Form 119).




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